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  IT IS ORDERED as set forth below:



   Date: February 10, 2022
                                                       _________________________________

                                                                Jeffery W. Cavender
                                                           U.S. Bankruptcy Court Judge

 ________________________________________________________________




                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                     {             CHAPTER 13
DARWIN G. FLORES                           {
                                           {             CASE NO. A20-67784-JWC
    DEBTOR                                 {
                                           {

            ORDER CONVERTING CHAPTER 13 CASE TO A CHAPTER 7

       The above-styled case came before the Court on the Chapter 13 Trustee’s Motion to

Convert this Case to One Under Chapter 7 (Docket No. 42) at a hearing on January 25, 2022 at

10:20 a.m. Present at the telephonic hearing were Counsel for the Chapter 13 Trustee and

Counsel for the Debtor. The Debtor, through Counsel, did not raise opposition to the Trustee’s
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Motion. Accordingly, for the reasons stated on the record and for good cause shown, it is hereby

       ORDERED, that Chapter 13 Trustee’s Motion is GRANTED, and the above-styled

Chapter 13 case is converted to a Chapter 7 to allow the Chapter 7 Trustee the opportunity to

pursue the property for the benefit of creditors. IT IS

       FURTHER ORDERED that the Chapter 7 conversion fee will be remitted by the

Trustee from the balance on hand in the case.

       The Clerk of the Court is directed to serve this Order on the parties included in the

attached Distribution List.

                                     END OF DOCUMENT


PRESENTED BY:                                     CONSENTED BY:


____/s/____________________                       ____/s/____________________
Julie M. Anania,                                  Craig A. Cooper,
Attorney for Chapter 13 Trustee                   Attorney for Debtor
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                                                  with express permission


                                     DISTRIBUTION LIST

Case Number A20-67784-JWC


              The Clerk of Court shall serve all parties on the Mailing Matrix.
